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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     CRIM. CASE NO. 13-20764
                Plaintiff,

v.                                                   PAUL D. BORMAN
                                                     UNITED STATES DISTRICT JUDGE

D-11 VINCENTE PHILLIPS

            Defendant(s).
_____________________________/


         ORDER DENYING DEFENDANT VINCENTE PHILLIPS’ MOTION TO
     TO SUPPRESS STATEMENTS FOR VIOLATIONS OF FED. R. CRIM. P. 16 AND
        THIS COURT’S ADMINISTRATIVE ORDER GOVERNING DISCOVERY

        On October 4, 2014, Defendant Vincente Phillips filed a Motion to Suppress Statements

he made to FBI Agents after his arrest on February 10, 2014. The statements were memorialized

by FBI Special Agent Remner in a five page FD-302 on February 21, 2014. But, they were not

provided by the Government to defense counsel until August 22, 2014, six months following the

arrest, but still six months before his trial.

        Clearly, this delay violated this Court’s Standing Order for Discovery and Inspection,

Adm. Order #03-AO-027, and Fed. R. Crim. P. 16(a)(1). The issue to be dealt with is whether

the Court should impose sanctions, and if yes, what sanctions. Defendant asks this Court to

suppress the statements.

        In United States v. Maples, (60 F.3d 244, 1995 Fed. Appx. 0225P), United States District

Judge Horace Gilmore, writing for the U.S. Court of Appeals for the Sixth Circuit stated that a


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district court should not impose the most severe sanction, suppression, when the defendant was

not prejudiced, and the government had not deliberately failed to disclose the materials – at most

there was negligence on the part of the government. Maples at 247.

       Applying the several factors that the Sixth Circuit held should be considered, the Court

concludes that, (1) there is no evidence that the Government’s delay was intentional or in bad

faith in this complex case involving voluminous discovery and 14 defendants, and (2) there is no

prejudice to the Defendant who has six months from the document turnover until the trial.

       This Court will follow the reasoning in Maples, and conclude that there is no basis for

sanction in this case against the Government’s at-most negligent conduct. At the same time, the

Court informs the Government that it must fully reexamine its files for discovery material to be

provided to defendant, to avoid any similar situations and sanctions.

       Accordingly, the Court DENIES Defendant’s Motion to Suppress Statements.

       SO ORDERED.



                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: October 23, 2014

                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on October 23, 2014.


                                             s/Deborah Tofil
                                             Case Manager




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